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                                     List of Witnesses
                                                  Trial: March 29, 2004

Name                      Role in Event              Subject of Testimony                                      Estimated
                                                                                                               Time for
                                                                                                               Testimony

Marcella Adamski,         Clinical Psychologist      Psychiatric Treatment of Jane Doe II during the time      2 hours
Ph.D.                                                period between June through August 2000; effect of
                                                     the death of her sister on Jane Doe II; information
                                                     regarding Narika and its relationship to Jane Doe II;
                                                     Relationship and interaction between Jane Doe II and
                                                     Uma Rao; Jane Doe II's mental state at the time of
                                                     mental examination.

Krishna Adigiri*          Former employee of         Description of relationship with Lakireddy Bali Reddy;    1 hour
                          Pasand Madras Cuisine      familiarity with Lakireddy Bali Reddy since the 1980's;
                          ("PMC") and Jay            assistance provided by Lakireddy Bali Reddy in
                          Construction               coming to the United States;Terms and condition of
                                                     employment at PMC Berkeley and Jay Construction;
                                                     assistance provided by Lakireddy Bali Reddy while
                                                     employed at PMC Berkeley and Jay Construction;
                                                     description of personal contact with defendants;
                                                     observations of plaintiffs.

Ayyaluru Ankireddy*       Former employee of         Terms and condition of employment at PMC; PMC             1 hour
                          PMC                        operational organization; PMC payment to employees;
                                                     description of working conditions and treatment of
                                                     employees by defendants; description of personal
                                                     contact with defendants; observations of plaintiffs.

Saro Boggula*             Employee of Jay            Terms and conditions of employment at Jay                 1 hour
                          Construction               Construction; description of working conditions and
                                                     treatment of employees by defendants; description of
                                                     personal contact with defendants; observations of
                                                     plaintiffs.

Srinvasareddy Bojula*     Former employee of         Terms and conditions of employment at PMC;                1 hour
                          PMC                        working conditions at PMC; payment of employees at
                                                     PMC; living condition of PMC employees; treatment of
                                                     employees by defendants.

Krisna Rao Chattu*        Employee of PMC            Personal experiences immigrating to the United            1 hour
                          Santa Clara                States based on a P6-1 visa and reasons for
                                                     immigrating; living conditions in India; reasons for
                                                     immigration; working conditions and treatment of
                                                     workers at PMC/Santa Clara; employee payments
                                                     and benefits.




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different defendants and their observations of different plaintiffs.
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Name                      Role in Event              Subject of Testimony                                      Estimated
                                                                                                               Time for
                                                                                                               Testimony

Julianne Cordovova        Employee of Calico         Interviews with Jane Doe II at the Calico Center;         2 hours
                          Center                     statements made by Jane II; authentication of tapes
                                                     and transcripts.

Custodian of records                                 Production and authentication of audio tapes and          .5 hour
for Berkeley Police                                  video tapes of interviews with plaintiffs; production
Department                                           and authentication of police reports, summaries of
                                                     testimony and transcripts of statements.

Custodian of records                                 Authentication of business records, statements,           .5 hour
for the Department of                                reports of interviews, e-mails and other documents
Homeland Security                                    prepared during the investigation of defendants.

Custodian of records                                 Authentication of business records, statements,           .5 hour
for the Department of                                reports of interviews, e-mails and other documents
Justice, US Attorney                                 prepared during the investigation of defendants.
for Northern California


Custodian of records                                 Authentication of reports, summaries of testimony,        .5 hour
for the Department of                                and witness statements.
Justice, Federal
Bureau of Investigation

Custodian or records                                 Authentication of records, documents and files of         .5 hour
of Narika                                            Narika.

Custodian of records                                 Authentication of records, documents and files of         .5 hour
of Maitri                                            Maitri.

Custodian of records                                 Translation services on records, invoices and             .5 hour
of Accent on                                         business files.
Language

Jane Doe VIII             Former plaintiff and       Involvement in the immigration to the United States of    2 hours
                          former employee of         Jane Doe II and Chanti Jyotsna Devi Prattipati;
                          PMC Berkeley               description of the immigration of Jane Doe II and
                                                     Chanti Jyotsna Devi Prattipati; reasons for
                                                     immigration, including financial benefits; working
                                                     conditions at PMC Berkeley; terms of employment at
                                                     PMC Berkeley; contacts and discussions with Uma
                                                     Rao; observations of Jane Doe II following the death
                                                     of her sister; treatment of Jane Doe II and Chanti
                                                     Jyotsna Devi Prattipati by her brother.




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Name                      Role in Event              Subject of Testimony                                        Estimated
                                                                                                                 Time for
                                                                                                                 Testimony

David Gallant             Accountant for             Knowledge of the operation of the defendant business        1 hour
                          Defendants                 entities prior to 1995; knowledge of financial records
                                                     of defendant business entities prior to 1995;
                                                     knowledge of state audits, preparation of income tax
                                                     forms, bookkeeping procedures, accounting practices
                                                     and record keeping of defendants;

Jane Doe VII              Plaintiff

Sridhara Rao Garlapati    Employee of PMC            Immigration to United States in 1996 on the basis of a      1 hour
                          Santa Clara                P6-1 visa; reasons for immigration; working conditions
                                                     and terms of employment at PMC Santa Clara;
                                                     treatment of employees; payment and benefits
                                                     received by employees.

Madhavi Gogulamudi        Employee of PMC            Immigration to the United States; reasons for               1 hour
                          Berkeley                   immigration; treatment by defendants; personal
                                                     observations of plaintiffs and their interactions with
                                                     defendants; payment and benefits of employees at
                                                     PMC; working conditions at PMC Berkeley;
                                                     observations of plaintiffs and their financial and living
                                                     situations.

Jason Graham              Department of              Description of interviews with plaintiffs in criminal       2 hours
                          Homeland Security,         investigation; statements made by plaintiffs in the
                          INS Agent                  criminal investigation; promises made to plaintiffs for
                                                     their cooperation in the criminal investigation.

Jane Doe VI               Former Plaintiff           Living conditions in India; treatment by the defendants     2 hours
                                                     in India and in the United States; relationship with
                                                     plaintiffs; relationship with defendants; relationship
                                                     and discussions with Uma Rao; application for
                                                     asylum; observations of plaintiffs and their interactions
                                                     with defendants.

Dixon Grier               CPA                        Expert testimony regarding amount and value of              2 hours
                                                     plaintiffs' alleged damages
                          Expert Witness

Chandra Gurralla*         Employee of Jay            Immigration to the United States; reasons for               1 hour
Gurrala                   Construction               immigration; treatment by defendants; personal
                                                     observations of plaintiffs and their interactions with
                                                     defendants; payment and benefits of employees at
                                                     Jay Construction; working conditions at Jay
                                                     Construction; personal observations of plaintiffs and
                                                     their financial and living situations.




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Name                      Role in Event               Subject of Testimony                                        Estimated
                                                                                                                  Time for
                                                                                                                  Testimony

Jyothi Gurrali*           Employee of PMC             Immigration to the United States; reasons for               1 hour
                                                      immigration; treatment by defendants; personal
                                                      observations of plaintiffs and their interactions with
                                                      defendants; payment and benefits of employees at
                                                      PMC; working conditions at PMC; personal
                                                      observations of plaintiffs and their financial and living
                                                      situations.

Donald Henley             Department of               Interviews of the plaintiffs and witnesses in connection    2 hours
                          Homeland Security,          with the criminal investigation; promises made to the
                          INS Agent                   plaintiffs concerning their cooperation; role of
                                                      translators and investigation regarding obstruction of
                                                      justice.

Ralph Horton              US Department of            Interviews of the plaintiffs and witnesses in connection    2 hours
                          Justice, Federal Bureau     with the criminal investigation; promises made to the
                          of Investigation, Special   plaintiffs concerning their cooperation; role of
                          Agent                       translators and investigation regarding obstruction of
                                                      justice.

Carol Hyland              Rehabilitation              Work capacity and wage-earning potential of Jane            2 hours
                          Consultant                  Doe II.

Timothy Isenhart          Department of               Interviews of the plaintiffs and witnesses in connection    2 hours
                          Homeland Security,          with the criminal investigation; promises made to the
                          INS Agent                   plaintiffs concerning their cooperation; role of
                                                      translators and investigation regarding obstruction of
                                                      justice.

Eileen Jacob              US Department of            Interviews of the plaintiffs and witnesses in connection    2 hours
                          Justice, Federal Bureau     with the criminal investigation; promises made to the
                          of Investigation, Special   plaintiffs concerning their cooperation; role of
                          Agent                       translators and investigation regarding obstruction of
                                                      justice.

Sreekanth Kollipara       Plaintiff

Gilbert Kliman            Psychiatrist                Mental and emotional condition of Jane Doe II, Jane         2 hours
                                                      Doe VII and Sreekanth Kollipara. Expert witness.

Venkata Kommineni*        Former PMC Santa            Immigration to the United States; reasons for               1 hour
                          Clara worker                immigration; treatment by defendants; personal
                                                      observations of plaintiffs and their interactions with
                                                      defendants; payment and benefits of employees at
                                                      PMC; working conditions at PMC; personal
                                                      observations of plaintiffs and their financial and living
                                                      situations.


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Name                      Role in Event              Subject of Testimony                                        Estimated
                                                                                                                 Time for
                                                                                                                 Testimony

R. Koteswara*             Employee of Jay            Immigration to the United States; reasons for               1 hour
                          Construction               immigration; treatment by defendants; personal
                                                     observations of plaintiffs and their interactions with
                                                     defendants; payment and benefits of employees at
                                                     Jay Construction; working conditions at Jay
                                                     Construction; personal observations of plaintiffs and
                                                     their financial and living situations.

Thota Krishna Kumari*     Employee of PMC            Immigration to the United States; reasons for               1 hour
                                                     immigration; treatment by defendants; personal
                                                     observations of plaintiffs and their interactions with
                                                     defendants; payment and benefits of employees at
                                                     PMC; working conditions at PMC; personal
                                                     observations of plaintiffs and their financial and living
                                                     situations.

Annapurna Lakireddy       Wife of Jayaprakash        Role in the family business; her role in the immigration    .5 hour
                          Lakireddy                  of Indian nationals and their participation in
                                                     immigration fraud; personal observations of plaintiffs
                                                     and their interactions with defendants.

Hanimireddy               L.B. Reddy's younger       The Reddy/Lakireddy family and their immigration to         .5 hour
Lakireddy, M.D.           brother (#3)               the United States; the family’s work and business
                                                     interests; living and conditions in India; operation of
                                                     the family businesses; the family’s charitable works in
                                                     India and the United States.

Krishna Lakireddy*        Employee of Jay            Immigration to the United States; reasons for               1 hour
                          Construction               immigration; treatment by defendants; personal
                                                     observations of plaintiffs and their interactions with
                                                     defendants; payment and benefits of employees at
                                                     Jay Construction; working conditions at Jay
                                                     Construction; personal observations of plaintiffs and
                                                     their financial and living situations.

Rama Lakireddy*           Employee of Jay            Immigration to the United States; reasons for               1 hour
                          Construction               immigration; treatment by defendants; personal
                                                     observations of plaintiffs and their interactions with
                                                     defendants; payment and benefits of employees at
                                                     Jay Construction; working conditions at Jay
                                                     Construction; personal observations of plaintiffs and
                                                     their financial and living situations.




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Name                      Role in Event              Subject of Testimony                                        Estimated
                                                                                                                 Time for
                                                                                                                 Testimony

Rani Lakireddy*           Prasad Lakireddy’s wife    Operation and management of the various businesses          1 hour
                                                     owned by the Reddy/Lakireddy family; personal
                                                     observations of plaintiffs and their interactions with
                                                     defendants; personal observations of plaintiffs and
                                                     their financial and living situations; role of Prasad
                                                     Lakireddy in business operations.

Veni Lakireddy            Vijay Lakireddy’s          Role of Prasad Lakireddy in family business                 .5 hour
                          mother                     operations; personal observations of family
                                                     relationships.

Susilpa Lakireddy         L.B. Reddy's daughter-     Defendants' role in the family businesses; personal         1 hour
                          in-law (Vijay              observations of plaintiffs and their interactions with
                          Lakireddy’s wife)          defendants.

Yenduri (Induri)*         Employee of PMC            Immigration to the United States; reasons for               1 hour
Lakshmi                                              immigration; treatment by defendants; personal
                                                     observations of plaintiffs and their interactions with
                                                     defendants; payment and benefits of employees at
                                                     PMC; working conditions at PMC; personal
                                                     observations of plaintiffs and their financial and living
                                                     situations.

Kay Lantow                Berkeley Police            Interviews of the plaintiffs and witnesses in connection    2 hours
                          Department                 with the criminal investigation; authentication of
                                                     statements, reports, video and audio tapes.

Lalitha Maruwada          Interpreter                Role and involvement in the government interviews of        1 hour
                                                     Plaintiffs.

Sekhareddy Mukkara*       Former employee of         Treatment by defendants; personal observations of           1 hour
                          Jay Construction; Jane     plaintiffs and their interactions with defendants;
                          Doe I's boyfriend          payment and benefits of employees at Jay
                                                     Construction; working conditions at Jay Construction;
                                                     personal observations of plaintiffs and their financial
                                                     and living situations; observations of plaintiffs and
                                                     their relationships with defendants.

Rajasekhar Reddy*         Employee of Jay            Immigration to the United States; reasons for               1 hour
Mukkara                   Construction               immigration; treatment by defendants; personal
                                                     observations of plaintiffs and their interactions with
                                                     defendants; payment and benefits of employees at
                                                     Jay Construction; working conditions at Jay
                                                     Construction; personal observations of plaintiffs and
                                                     their financial and living situations.




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Name                      Role in Event               Subject of Testimony                                        Estimated
                                                                                                                  Time for
                                                                                                                  Testimony

Garen Neilson             US Department of            Interviews of the plaintiffs and witnesses in connection    2 hours
                          Justice, Federal Bureau     with the criminal investigation; promises made to the
                          of Investigation, Special   plaintiffs concerning their cooperation; role of
                          Agent                       translators and investigation regarding obstruction of
                                                      justice.

Kudumula                  Employee of Jay             Immigration to the United States; reasons for               1 hour
Padamavati*               Construction                immigration; treatment by defendants; personal
                                                      observations of plaintiffs and their interactions with
                                                      defendants; payment and benefits of employees at
                                                      Jay Construction; working conditions at Jay
                                                      Construction; personal observations of plaintiffs and
                                                      their financial and living situations.

Kalpani Peddibhotla       Volunteer attorney with     The plaintiffs' immigration to the United States;           .5
                          the ACLU                    assistance provided to the Prattipatis.

Sonja Pelia               Maitri (provider of         Social services provided to Plaintiffs by Maitri;           1 hour
                          services for South          observations of plaintiffs following alleged incidents.
                          Asian women),
                          President of the Board

Jarmani Prattipati        Plaintiff and Father of
                          Jane Doe II and Chanti
                          Jyotsna Devi

Lakshmi Prattipati        Mother Jane Doe II and
                          Chanti Jyotsna Devi

Jane Doe II               Plaintiff

Tamma Siva Ram*           Employee of PMC             Immigration to the United States; reasons for               1 hour
                                                      immigration; treatment by defendants; personal
                                                      observations of plaintiffs and their interactions with
                                                      defendants; payment and benefits of employees at
                                                      PMC; working conditions at PMC; personal
                                                      observations of plaintiffs and their financial and living
                                                      situations.

Thota Srinvasa Rao                                    Practice of parents in India to approach L.B. Reddy         1 hour
                                                      requesting employment and immigration assistance
                                                      for their children; conditions of employment in the
                                                      Lakireddy businesses; character of L.B. Reddy.

Uma Rao                   Interpreter                 Role and involvement in government interviews of            3 hour
                                                      plaintiffs; relationship with plaintiffs.



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Name                      Role in Event              Subject of Testimony                                        Estimated
                                                                                                                 Time for
                                                                                                                 Testimony

Leonard S. Raphael        CPA                        Ownership and structure of the family businesses;           2 hours
                                                     operation, finances and conditions of the family
                          Accountant for PMC,        businesses; state audits.
                          Jay Construction,
                          Lakireddy Investment
                          Co., L.B. Reddy Estate
                          Co, and Lakireddy Bali
                          Reddy (personal)

Gudura Reddy*             Employee of Jay            Immigration to the United States; reasons for               1 hours
                          Construction               immigration; treatment by defendants; personal
                                                     observations of plaintiffs and their interactions with
                                                     defendants; payment and benefits of employees at
                                                     Jay Construction; working conditions at Jay
                                                     Construction; personal observations of plaintiffs and
                                                     their financial and living situations.

Jagen Mohan Reddy*        Employee of PMC and        Immigration to the United States; reasons for               1 hour
                          Jay Construction           immigration; treatment by defendants; personal
                                                     observations of plaintiffs and their interactions with
                                                     defendants; payment and benefits of employees at
                                                     PMC and Jay Construction; working conditions at
                                                     PMC and Jay Construction; personal observations of
                                                     plaintiffs and their financial and living situations.

Prasada T. Reddy*         Employee of PMC            Immigration to the United States; reasons for               1 hour
                                                     immigration; treatment by defendants; personal
                                                     observations of plaintiffs and their interactions with
                                                     defendants; payment and benefits of employees at
                                                     PMC; working conditions at PMC; personal
                                                     observations of plaintiffs and their financial and living
                                                     situations.

V. Sangi Reddy*           Employee of Jay            Immigration to the United States; reasons for               1 hour
                          Construction               immigration; treatment by defendants; personal
                                                     observations of plaintiffs and their interactions with
                                                     defendants; payment and benefits of employees at
                                                     PMC; working conditions at PMC; personal
                                                     observations of plaintiffs and their financial and living
                                                     situations.

Anna Yeduru Sarojini*                                Immigration to the United States; reasons for               1 hour
                                                     immigration; treatment by defendants; personal
                                                     observations of plaintiffs and their interactions with
                                                     defendants; payment and benefits of employees;
                                                     working conditions; personal observations of plaintiffs
                                                     and their financial and living situations.



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Name                      Role in Event              Subject of Testimony                                        Estimated
                                                                                                                 Time for
                                                                                                                 Testimony

Thota Savitri                                        Observations of the Plaintiffs and their activities and     1 hour
                                                     relationships with defendants in India.

Ayam Reddy Seelam*        Employee of PMC            Immigration to the United States; reasons for               1 hour
                                                     immigration; treatment by defendants; personal
                                                     observations of plaintiffs and their interactions with
                                                     defendants; payment and benefits of employees at
                                                     PMC; working conditions at PMC; personal
                                                     observations of plaintiffs and their financial and living
                                                     situations.

Ayyapa Reddy Seelam       Neighbor of Chanti         Living situation and economic conditions in India and       1 hour
                          Jyotsna Devi Prattipati    the United States; treatment by the defendants;
                                                     personal observations of defendants’ treatment of
                                                     others, including plaintiffs; immigration to the United
                                                     States; reasons for immigrating; current employment
                                                     conditions.

Ramachandra Reddy*        Employee of PMC and        Immigration to the United States; reasons for               1 hour
Saleem                    Jay Construction           immigration; treatment by defendants; personal
                                                     observations of plaintiffs and their interactions with
                                                     defendants; payment and benefits of employees at
                                                     PMC and Jay Construction; working conditions at
                                                     PMC and Jay Construction; personal observations of
                                                     plaintiffs and their financial and living situations.

Annapurna Seelam          Manager of 2020            Working conditions and Defendants' business                 1 hour
                          Bancroft apartment         practices.
                          building

Chandra Gurralla          Employee of Jay            Immigration to the United States; reasons for               1 hour
Sekereddy*                Construction               immigration; treatment by defendants; personal
                                                     observations of plaintiffs and their interactions with
                                                     defendants; payment and benefits of employees at
                                                     Jay Construction; working conditions at Jay
                                                     Construction; personal observations of plaintiffs and
                                                     their financial and living situations.

Jane Doe V                Former Plaintiff           Living conditions in India; treatment by Defendants;        2 hours
                                                     immigrating to the United States, reasons for
                                                     immigrating; working conditions; relationships with the
                                                     other plaintiffs; relationship with the defendants;
                                                     relationship with Uma Rao; application for political
                                                     asylum; damages she and others may or may not
                                                     have suffered.




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Name                      Role in Event              Subject of Testimony                                        Estimated
                                                                                                                 Time for
                                                                                                                 Testimony

Jane Doe IV               Former Plaintiff           Living conditions in India; treatment by Defendants;        2 hours
                                                     immigrating to the United States, reasons for
                                                     immigrating; working conditions; relationships with the
                                                     other plaintiffs; relationship with the defendants;
                                                     relationship with Uma Rao; application for political
                                                     asylum; damages she and others may or may not
                                                     have suffered.

Subhani Shaik*            Employee of Jay            Immigration to the United States; reasons for               1 hour
                          Construction               immigration; treatment by defendants; personal
                                                     observations of plaintiffs and their interactions with
                                                     defendants; payment and benefits of employees at
                                                     Jay Construction; working conditions at Jay
                                                     Construction; personal observations of plaintiffs and
                                                     their financial and living situations.

Mukkra Shekar*                                       Plaintiffs’ working conditions; Reddy family’s              1 hour
                                                     assistance to individuals in immigrating to the United
                                                     States; practice of parents in India to seek the
                                                     assistance of the Reddy family so their children could
                                                     immigrate and work in the United States.

Nalini Shekar             Volunteer for Maitri, an   Treatment of women in India; treatment of Indian            3 hours
                          organization that          nationals in the United States; police tactics during
                          supports women going       interrogation of plaintiffs; her role in questioning
                          through displacement       plaintiffs; her role in any deals that were made with
                          and domestic violence.     plaintiffs; authentication and accuracy of translations
                                                     made during various interrogations; Uma Rao's role in
                                                     the government’s investigation.

Tamma Sivarama*           Employee of PMC            Immigration to the United States; reasons for               1 hour
                                                     immigration; treatment by defendants; personal
                                                     observations of plaintiffs and their interactions with
                                                     defendants; payment and benefits of employees at
                                                     PMC; working conditions at PMC; personal
                                                     observations of plaintiffs and their financial and living
                                                     situations.

Garlapati Sridar*         Employee of PMC            Immigration to the United States; reasons for               1 hour
                                                     immigration; treatment by defendants; personal
                                                     observations of plaintiffs and their interactions with
                                                     defendants; payment and benefits of employees at
                                                     PMC; working conditions at PMC; personal
                                                     observations of plaintiffs and their financial and living
                                                     situations.




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Name                      Role in Event              Subject of Testimony                                        Estimated
                                                                                                                 Time for
                                                                                                                 Testimony

Vellanki Srinavasa*       Employee of Jay            Immigration to the United States; reasons for               1 hour
                          Construction               immigration; treatment by defendants; personal
                                                     observations of plaintiffs and their interactions with
                                                     defendants; payment and benefits of employees at
                                                     Jay Construction; working conditions at Jay
                                                     Construction; personal observations of plaintiffs and
                                                     their financial and living situations.

Prasad Thallapareddy      Employee of PMC;           Defendants' business practices; defendants' roles in        1.5 hours
                          maintains sales            the operation of their businesses.
                          information for
                          accounting purposes

Venkateswara              Employee of Jay            Immigration to the United States; reasons for               1 hour
Thallapareddy*            Construction               immigration; treatment by defendants; personal
                                                     observations of plaintiffs and their interactions with
                                                     defendants; payment and benefits of employees at
                                                     Jay Construction; working conditions at Jay
                                                     Construction; personal observations of plaintiffs and
                                                     their financial and living situations.

Padma Vati*                                          Working conditions in the Reddy/Lakireddy family            1 hour
                                                     businesses; relationship with the defendants;
                                                     assistance provided to her by L.B. Reddy.

Srinavassa Velanki*       Employee of Jay            Immigration to the United States; reasons for               1 hour
                          Construction               immigration; treatment by defendants; personal
                                                     observations of plaintiffs and their interactions with
                                                     defendants; payment and benefits of employees at
                                                     Jay Construction; working conditions at Jay
                                                     Construction; personal observations of plaintiffs and
                                                     their financial and living situations.

Jane Doe III              Former Plaintiff           Living conditions in India; treatment by Defendants;        2 hours
                                                     immigrating to the United States, reasons for
                                                     immigrating; working conditions; relationships with the
                                                     other plaintiffs; relationship with the defendants;
                                                     relationship with Uma Rao; application for political
                                                     asylum; damages she and others may or may not
                                                     have suffered.

Jane Doe I                Former Plaintiff           Living conditions in India; treatment by Defendants;        2 hours
                                                     immigrating to the United States, reasons for
                                                     immigrating; working conditions; plaintiffs' relationship
                                                     with defendants.




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Name                      Role in Event              Subject of Testimony                                        Estimated
                                                                                                                 Time for
                                                                                                                 Testimony

Lakshmi Vellanki*                                    Immigration to the United States; reasons for               1 hour
                                                     immigration; treatment by defendants; personal
                                                     observations of plaintiffs and their interactions with
                                                     defendants; payment and benefits of employees at
                                                     PMC; working conditions at PMC; personal
                                                     observations of plaintiffs and their financial and living
                                                     situations.

Sommama Vellanki          Mother of Jane Doe I       Plaintiffs' relationship with defendants; working           .5 hour
                                                     conditions for plaintiffs.

Jagen Mohan               Employee                   Immigration to the United States; reasons for               1 hour
Vemireddy*                                           immigration; treatment by defendants; personal
                                                     observations of plaintiffs and their interactions with
                                                     defendants; payment and benefits of employees;
                                                     working conditions; personal observations of plaintiffs
                                                     and their financial and living situations.

Venkata Reddy             Nephew of L.B. Reddy,      Role in the family businesses; personal observations        2 hours
Vemireddy*                manager of PMC Santa       of plaintiffs and their interactions with defendants;
                          Clara                      payment and benefits of employees at PMC; working
                                                     conditions at PMC; personal observations of plaintiffs
                                                     and their financial and living situations.

C. Venkaiah*              Employee of Jay            Immigration to the United States; reasons for               1 hour
                          Construction               immigration; treatment by defendants; personal
                                                     observations of plaintiffs and their interactions with
                                                     defendants; payment and benefits of employees at
                                                     Jay Construction; working conditions at Jay
                                                     Construction; personal observations of plaintiffs and
                                                     their financial and living situations.

Seela Vijayalakshmi*      Employee of Jay            Immigration to the United States; reasons for               1 hour
                          Construction               immigration; treatment by defendants; personal
                                                     observations of plaintiffs and their interactions with
                                                     defendants; payment and benefits of employees at
                                                     PMC; working conditions at PMC; personal
                                                     observations of plaintiffs and their financial and living
                                                     situations.

Bharati Yaramala          Prasad's mother-in-law     Prasad Lakireddy's role in the family and the               1 hour
                                                     operations of the businesses.

Ramakrisna Reddy          Prasad's father-in-law     Prasad Lakireddy's role in the family and the               1 hour
Yaramala                                             operations of the businesses.




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*These witnesses are not cumulative as each witness will testify concerning different time periods, their contact with
different defendants and their observations of different plaintiffs.
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Name                      Role in Event              Subject of Testimony                                        Estimated
                                                                                                                 Time for
                                                                                                                 Testimony

Usha Yaramala*            Employee of PMC            Immigration to the United States; reasons for               1 hour
                                                     immigration; treatment by defendants; personal
                                                     observations of plaintiffs and their interactions with
                                                     defendants; payment and benefits of employees at
                                                     PMC; working conditions at PMC; personal
                                                     observations of plaintiffs and their financial and living
                                                     situations.

Venkat Reddy                                         Immigration to the United States; reasons for               1 hour
Yaramalla*                                           immigration; treatment by defendants; personal
                                                     observations of plaintiffs and their interactions with
                                                     defendants; payment and benefits of employees;
                                                     working conditions; personal observations of plaintiffs
                                                     and their financial and living situations.

Venkata Yaramalla*        Employee of PMC            Immigration to the United States; reasons for               1 hour
                                                     immigration; treatment by defendants; personal
                                                     observations of plaintiffs and their interactions with
                                                     defendants; payment and benefits of employees at
                                                     PMC; working conditions at PMC; personal
                                                     observations of plaintiffs and their financial and living
                                                     situations.

Siva Leela Yaramala*      Employee of Jay            Immigration to the United States; reasons for               1 hour
                          Construction               immigration; treatment by defendants; personal
                                                     observations of plaintiffs and their interactions with
                                                     defendants; payment and benefits of employees at
                                                     Jay Construction; working conditions at Jay
                                                     Construction; personal observations of plaintiffs and
                                                     their financial and living situations.

Venkatareddy (Venkat)     Prasad Lakireddy's         Prasad Lakireddy's role in the family and his               .75 hour
Yaramala                  cousin                     involvement in the operations of the family
                                                     businesses.

Venkateswara Reddy        Prasad Lakireddy's         Prasad Lakireddy's role in the family and his               1 hour
Yaramala                  brother-in-law             involvement in the operations of the family
                                                     businesses. Immigration to the United States; reasons
                                                     for immigration; treatment by defendants; personal
                                                     observations of plaintiffs and their interactions with
                                                     defendants; payment and benefits of employees at
                                                     PMC; working conditions at PMC; personal
                                                     observations of plaintiffs and their financial and living
                                                     situations.




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different defendants and their observations of different plaintiffs.
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Name                      Role in Event              Subject of Testimony                                      Estimated
                                                                                                               Time for
                                                                                                               Testimony

Sivarama Zudumula*        Employee of Jay            Immigration to the United States; reasons for             1 hour
                          Construction               immigration; treatment by defendants; personal
                                                     observations of plaintiffs and their interactions with
                                                     defendants; payment and benefits of employees at
                                                     Jay Construction; working conditions at Jay
                                                     Construction; personal observations of plaintiffs and
                                                     their financial and living situations.

Lakireddy Bali Reddy      Defendant

Vijay Kumar Lakireddy     Defendant

Prasad Lakireddy          Defendant

Jayaprakash               Defendant
Lakireddy

Venkateswara              Defendant
Lakireddy




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*These witnesses are not cumulative as each witness will testify concerning different time periods, their contact with
different defendants and their observations of different plaintiffs.
